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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                            Case No. 16-20549-CR-SCOLA/OTAZO-REYES

   UNITED STATES OF AMERICA,

   vs.

   PHILIP ESFORMES, et al.,

           Defendants.
                                                   /

   AYINTOVA LLC and PIPESMOKERS
   ASSOCIATES LLC,

           Third Parties.

   ______________________________________/

           MOTION TO APPROVE AND ENTER STIPULATION AND AGREEMENT
          REGARDING DISBURSEMENT OF CERTAIN FUNDS FROM THE SALE OF
         SOUTH DADE NURSING AND REHABILITATION CENTER (“SOUTH DADE”),
          GOLDEN GLADES NURSING AND REHABILITATION CENTER (“GOLDEN
          GLADES”) AND NORTH DADE NURSING AND REHABILITATION CENTER
                                (“NORTH DADE”)

           Sheldon Neidich and Norman Ginsparg, through undersigned counsel, file this motion

   requesting that the Court approve and enter the attached Stipulation and Agreement between the

   United States of America (the “United States”), Ayintova LLC (“Ayintova”), Pipesmokers

   Associates LLC (“Pipesmokers”), Norman Ginsparg (“Ginsparg”), individually and as manager of

   Ayintova and Pipesmokers, Sheldon Neidich (“Neidich”), individually and as manager of

   Ayintova, and the defendant, Philip Esformes (“Esformes”), individually, as grantor and trustee of

   the Philip Esformes Revocable Trust Agreement of September 26, 2000 (“Esformes Trust”), and

   as equity holder of Ayintova and Pipesmokers. In accordance with the Stipulation, the parties

   request that the Court order that Sheldon Neidich and Norman Ginsparg shall be paid their equity


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   percentages from the proceeds of the sale. In support of this motion, Sheldon Neidich and Norman

   Ginsparg submit the following:

   1.      On February 4, 2019, the Court approved the sale of South Dade, Golden Glades, and North

   Dade. See Sale Order, D.E. 1075.

   2.      In its Sale Order, the Court directed the closing agent to hold funds payable to minority

   members Ayintova LLC and Pipesmokers Associates LLC and all individual owners of Ayintova

   and Pipesmokers in escrow until further Order of the Court directing distribution. See Sale Order

   ⁋ 5, at 3.

   3.      The United States, Ayintova, Pipesmokers, Sheldon Neidich, Norman Ginsparg, Esformes

   have since entered into the attached Stipulation, in which the parties have agreed that at the closing

   of South Dade, Golden Glades, and North Dade, Norman Ginsparg and Sheldon Neidich shall be

   paid their equity percentages from the proceeds. Thus, the designated settlement and closing agent

   for SentosaCare (“Closing Agent”), at the closing of South Dade, Golden Glades, and North Dade,

   shall distribute funds payable to Sheldon Neidich as a 48.50% owner of Ayintova, and Norman

   Ginsparg as a 3% owner of Ayintova and 5% owner of Pipesmokers. Any and all proceeds due to

   Esformes (individually or through his sub-member company or trust) shall be delivered via bank

   check made payable to the United States Marshals office and hand-delivered to the United States

   Attorney’s office 500 East Broward Boulevard, Suite 812, Fort Lauderdale, FL 33394, Attn:

   AUSA Daren Grove, which shall remain in escrow until further order from the Court. See attached

   Stipulation.

   4.      The terms of the Stipulation are subject to approval by the Court. See id. ⁋ 3, at 2.




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          WHEREFORE, Sheldon Neidich and Norman Ginsparg respectfully request that this Court

   approve the attached Stipulation, enter an order authorizing the disbursement of sale proceeds to

   Neidich and Ginsparg, retain jurisdiction over this matter, and for such other relief as the Court

   deems just and proper. A proposed order is attached.

                                                       Respectfully submitted,

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